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                                AMENDMENT OF OPERATING AGREEMENT FOR
                                   CASTLE REAL ESTATE INVESTMENTS LLC,
                                  A CALIFORNIA LIMITED-LIABILITY COMPANY

This AMENDMENT OF OPERATING AGREEMENT (the "Amendment") of Castle Real Estate Investments LLC, a
limited liability company organized under the laws of the state of California (the "Company"), made on September 14,
2018 by Michelle Halliwell, having as an address of 638 Lindero Canyon #420, Oak Park, CA 91377, referred to
herein as "Member" or "Members").

                                                      RECITALS

WHEREAS, the Company was duly formed and organized under the laws of the state of California upon the filing of
Articles of Organization with the Secretary of State on July 3, 2017

WHEREAS, By agreement dated July 3, 2017 (referred to herein as "Operating Agreement"), the Members became
members of the Company.
    WHEREAS, as a result of the Members' desire to change the terms of the Manager's compensation and to
memorialize how the proceeds from the sales real property (previously and currently owned by the Company) at 2285
W. 26th Street, Los Angeles, CA ("26th Street Property"), 4743 Hillard Road, La Canada Flintridge, CA ("Hillard
Property"), and 779 Briarcliff, Thousand Oaks, CA ("Briarcliff Property") will be allocated, the Members desire to reflect
these changes herein in this Amendment.

Therefore, in consideration of their mutual covenants, the Members agree:

     1. This Amendment supersedes and amends the Manager Agreement made on July 3, 2017 ("Manager
        Agreement"), Section 5 as to "Compensation to be Paid to the Manager" in its entirety and Section 7 (d) in
        its entirety.

     2. Section 5.6 of the Operating Agreement (which currently provides that the Manager shall be entitled to
          compensation for the Manager's services as provided in the Manager Agreement) is amended in its entirety
          to read as follows:

         Section 5.6: Allocation of Proceeds from Sales of Hillard Property and Briarcliff Property.

             A. The proceeds from the sales of Hillard Property and Briarcliff Property shall first be disbursed to the
                 following third-parties through escrow as follows :

                 (1) Payments to Third-Parties from Sale of Hillard Property:

                 •    Payment of First Deed of Trust to Anchor Assets (currently
                      $2,302,735.25) plus any other payments owed such as any loan
                      payments and late fees owed to Anchor Assets but unpaid at close          $TBD
                 •    Payment of all Property Taxes (currently in default by $22,590.82):       $TBD
                 •    Payments to Builder (currently owe $147,000.00 plus interest at flat
                      fee of 15% which totals $22,050.00)                                       $169,050.00
                  •   Any other encumbrances on the Property (currently none)                   $TBD




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                          •   Broker Commissions of 3. 75% (2.5% to Selling Broker
                              Plus 1.25% plus marketing costs to listing broker. Since Manager is
                              neither the listing broker not the listing agent, Manager is not taking
                              commission on the sale)                                                    $ TBD
                          •   Closing costs                                                              $ TBD

                          (2) Payments to Third-Parties from Sale of Briarcliff Property:

                          •   Payment of First Deed of Trust to Anchor Assets:                   $737,500.00
                          •   Payment of all Property Taxes (currently in default by $6,264.52): $ TBD       £,)';~          t.,
                          •                                                                              1
                              Payment to Builders/Construction Workers (currently $47,500.00 S~ voo -et:/,-               ~
                              owed to "Bill", currently $4,774.00 owed to "Danny", $9,774.00
                      '       owed to Graham)                                                    $59,500.00
                          •   An o      encumbrances on the Property (currently none)            $TSO
          j 7'r v         •   Broker Commissions o . o o Selling Broker
            . .~w
                . •
                                                                                            f"JJ
                              (Manager will be Real Estate AQ9Rt 91:1t is r:iot takiAg
            '·''               ~mffiissioA 0R ~9 11ale) i"''t'WvAljt '- 1Lt r -rltlt1 ~      ,,. $TSO
                              Closing costs                   Ln•Y•h 19(ncn ~l'Md                $ TBO

                          (3) Remaining Funds After Disbursement to Third-Parties:                      ~~
                          •   The remaining funds from the sales of Hillard Property and Briarcliff Property will be disbursed
                              by escrow to the Company's bank account.

                    8. After all payments have been disbursed as specified above in Section 5.6 A. herein, the proceeds
                       from the sales of Hillard Property and Briarcliff Property shall next be disbursed from Company's
                       bank account as follows:

                          (1) Payments to Company:

                          •   Payment to Company for Total Investment in 26th Street Property,
                              Hillard Property, and Briarcliff Property                                  $860,653.33
                          •   Payment to Company for termite tenting and cleaning costs                  $TBO

                          (2) Payment to Tommy Thomas by Company:

                          •   Payment to Tommy Thomas ($5,000.00 introduction fee to be
                              shared equally by Company and Manager). Company
                              previously paid Thomas $2,000.00 and Manager previously paid
                              Thomas $2,000.00 which left a $1 ,000.00
                              balance owed. Manager owes $500.00 and Company
                              owes $500.00 on remaining balance.                                         $500.00




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            C. After all payments have been disbursed as specified above in Sections 5.6 A. and5.6 8. herein,
                the proceeds from the sales of Hillard Property and Briarcliff Property shall next be disbursed as
                follows:

                (1) Payments to Manager upon proof of invoices and proof of payments made:

                •    Loans advanced to Company by Manager                                      s1s,4n.72               ~~K
                •    Reimbursement to Manger for payment of marketing fee owed to
                                                                                                                       ..
                     former realtor                                                            ~/ Z, 7bZ.b 7
                •    Loans advanced to Company for monthly mortgage                                                         ~£
                     payments for Hillard Property from August 2018
                     going forward ($16,192.50/month plus late fees)                           $ TBD
                •    Loans advanced to Company for monthly mortgage
                     payments for Briarcliff Property from August 2018
                     going forward ($5,046.00/month plus late fees)                            $TBD
                •    Reimbursement to Manager for expenses such as insurance
                     premiums, pool and lawn service, utilities and staging expenses
                     for Hillard Property and Briarcliff Property                              $ TBD

                 {2) Payment to Tommy Thomas from Manager:

                •    Payment to Tommy Thomas {$5,000.00 introduction fee to be
                     shared equally by Company and Manager). Company
                     previously paid Thomas $2,000.00 and Manager paid Thomas
                     $2,000.00 which left a $1,000.00 balance owed. Manager
                     owes 500.00 and Company owes $500.00 on remaining balance.                $500.00

            D. After all payments have been disbursed as specified above in Sections 5.6 A., 5.6 B., and 5.6.C.
               herein, the proceeds from the sales of Hillard Property and Briarcliff Property shall next be
               disbursed to Company as follows:

                 •   Five percent {5%) return on Total
                     Investment from 08/01/17 to 08/01/18 on 26th Street Property,
                     Hillard Property, and Briarcliff Property ($860,653.33 x 5%)              $43,032.66


     4. The Operating Agreement currently does not have a Section 5.9 and is hereby amended and
        supplemented to read as follows:

         Section 5.9: Guaranteed Return of Company's Total Investment:

In the event the proceeds from the sales of Hillard Property and Briarcliff Property are insufficient to provide Company
with a return of Company's total investments of $860,653.33 in 26th Street Property, Hillard Property, and Briarcliff
Property as provided for in Section 5.6 8. herein, Manager agrees to pay Company the difference between the
disbursements Company receives from the sales of Hillard Property and Briarcliff Property and what Company is
owed, if any, for its total investments of $860,653.33 in 26th Street Property, Hillard Property, and Briarcliff Property.
Michael Tony Hershman, Manager's President, agrees to execute a personal guaranty, concurrent with the execution
                                                            3




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of this Amendment, wherein he agrees to personally guarantee a return of the Company's total investment of
$860,653.33.

     5. The Operating Agreement currently does not have a Section 5.10 and is hereby amended and
        supplemented to read as follows:

         Section 5.1 0: Guaranteed Five Percent (5%) Return on Company's Total Investment:

In the event the proceeds from the sales of Hillard Property and Briarcliff Property are insufficient to fund returns of
five percent (5%) on Company's total investments of $860,653.33 equaling a total return of $43,032.66 as set forth
herein in Section 5.6 D. for 26th Street Property, Hillard Property, and Briarcliff Property, Manager agrees to pay the
difference between the disbursements Company receives from the sales of Hillard Property and Briarcliff Property
and what Company is owed, if any. Michael Tony Hershman, Manager's President, agrees to execute a personal
guaranty, concurrent with the execution of this Amendment, wherein he agrees to personally guarantee a five percent
(5%) return on the Company's total investment of $43,032.66.

     6. The Operating Agreement currently does not have a Section 5.11 and is hereby amended and
        supplemented to read as follows:

         Section 5.11: Allocation of Profits and/or Losses:

The profits or losses (if positive, the "Profits", if negative, the "Losses") are the proceeds received from the sales of
Hillard Property and Briarcliff Property minus the repayment of all obligations owed to third-parties, the Company and
the Manager as set forth above in Sections 5.6, 5.9, and 5.10.

In the event there are Profits, Company and Manager shall share the Profits equally.

In the event there are Losses, the order of payment will still be followed .

To the extent that any provision in this Amendment may conflict in whole or in part with any provision in either the
Manager Agreement or the Operating Agreement, the provisions in this Amendment will control and prevail.

IN WITNESS WHEREOF, all of the Members of Castle Real Estate Investments LLC, a California Limited-Liability
Company have executed or caused to be executed this Amendment, effective as of the date set forth at the
commen~mentofthedocument.                           - _                / ,ti _,/
                                                                           ,,,/,!     _/l
Dated:   I-Ji-th"                                            sy7t/~ Y~~w.-.PP'
                                                                 Michelle Halliwell, Member

ACCEPTANCE BY NON-MEMBER MANAGER

The undersigned as the non-member Manager agrees to be bound by all terms hereof, effective as of the date of this
Amendment.

                                                                                        SINC.,


Dated: #
                                                            4



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                                      AMENDMENT OF MANAGER AGREEMENT FOR
                                       CASTLE REAL ESTATE INVESTMENTS LLC,
                                       A CALIFORNIA LIMITED-LIABILITY COMPANY

     By this AMENDMENT OF MANAGER AGREEMENT (the "Amendment") made on September 14, 2018, to the
     Manager Agreement made on July 3, 2017 (the "Manager Agreement") between Castle Real Estate Investments LLC,
     a limited liability company organized under the laws of the state of California (the "Company") and Besorat
     Investments Inc., a California corporation ("Manager"), whose names and signatures are set forth below. (The
     Company and Bii are each a "Party" and collectively the "Parties.)

                                                           RECITALS

         WHEREAS, by the Manager Agreement, Bii became the Manager of the Company on July 3, 2017.

         WHEREAS, Michelle Halliwell, the sole member of the Company (herein "Member" or "Members") and Manager
     desire to change the rights, duties and compensation of Bii as the Manager.

         NOW THEREFORE, in consideration of their mutual covenants, the Parties agree that the Manager Agreement
     is amended as follows:

         Section 5 as to "Compensation to be Paid to the Manager" in its entirety and Section 7 (d) in its entirety (as to
     procedures for distributing proceeds from escrow) of the Manager Agreement are superseded and amended in the
     separate Amendment to Company's Operating Agreement dated September 14, 2018 ("Amendment to Operating
     Agreement").

          Section 2 as to "Term and Termination of Manager in its entirety, Section 3 (a)- (g) as to the "Specific Additional
     Duties and Rights of the Manager" in its entirety, Section 4 (a} - e} as to the "Additional Specific Powers and
     Limitations of the Manager and Real Estate Agent" in its entirety, and Section 7 (a) in its entirety (as to procedures
     for Company's operating account} of the Manager Agreement are superseded and herein amended as follows:

          1. Exclusive Management. The Company shall be managed by the Manager. The Manager shall have exclusive
     authority, discretion, power, and control to manage the property, business and affairs of the Company, and to make
     all decisions and perform all services incident to the management thereof, except as otherwise provided in this
     Amendment or the California Revised Uniform Limited-Liability Company Act (the "Act").

        2. Time Commitments. The Manager shall devote the time, effort, and skill that it reasonably believes is
     necessary to conduct the affairs of the Company and to attend to all matters concomitant to the business of the
     Company. The Manager is not required to devote all of its time or efforts to the operation of the Company.

         3. Management Powers. Subject to the express limitations contained in Paragraph 4 of this Amendment and
     elsewhere in this Amendment, the Manager shall have all powers necessary to carry out the purposes of and to
     manage the business, property, and affairs of the Company, including, without limitation, the powers enumerated
     Corp. Code § 17701.05, including the power to:

              (a)     Make contracts and guarantees, incur liabilities, act as surety, borrow money, issue evidences of
     indebtedness in connection therewith, refinance, increase the amount of, modify, amend, or change the terms of, and
     extend the time for payment of any indebtedness or obligation of the Company; and secure such indebtedness with
     a lien on Company assets, such as a mortgage, deed of trust, pledge, or security interest;
                                                                1




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         (b)    Sell, lease, exchange, transfer, convey, mortgage, pledge, and otherwise dispose of all or any part
 of the Company's property and assets, or any interest therein;

         (c)      Lend money to the Company and otherwise assist the Members and employees;

         (d)      Be a promoter, stockholder, partner, members, manager, associate, or agent of any person;

         (e)      Indemnify or hold harmless any person or guarantee the payment of money or the performance of
 any contract or obligation of any person;

        (n      Sue on, defend, or compromise any claim or liability in favor of or against the Company or submit
 any such claim to arbitration or other alternative means of dispute resolution or confess a judgment against the
 Company in connection with any litigation with which the Company is involved; and

         (g)     Retain auditors, legal counsel, and such other professional services as the Company may require
 and determine the appropriate compensation for the same.

     4. Limitations on Powers. The Manager shall not be authorized to permit the Company to perform the following
acts or to engage in the following transactions without first obtaining the written consent of the Members as may be
indicated below:

          (a)    The merger of the Company with another limited-liability company or limited partnership shall require
the written consent of the Members, provided that the Members may not be required to become a general partner in
the merged entity absent his or her express written consent thereto;

         (b)     The merger of the Company with a corporation , a general partnership , or other person shall require
the written consent of the Members of the Company;

       (c)    Any alteration of the primary purpose or business of the Company as set forth in Section 2.5 of the
the Company's Operating Agreement shall require the written consent of the Members of the Company;

        (d)     The establishment of different classes of Members;

        (e)     Any act which would prevent the Company from conducting its duly authorized business;

        (0      The confession of a judgment against the Company;

        (g)     The filing of a petition under Title 11 of the United States Code on behalf of the Company; and
      (h)     Any other act or transaction for which the consent of the Members is required, either in this
Amendment or under the Act.

Notwithstanding any other provision of this Amendment, the written consent of the Members is required to permit the
Company to incur an indebtedness or obligation greater than ten thousand ($10,000.00). All checks, drafts, or other
instruments requiring the Company to make payments for any amount shall be signed by the Members. The Members
shall endorse all checks, drafts, or other evidence of indebtedness to the Company, for deposit into one of the
Company's accounts. The Manager is prohibited from signing any checks for any payments to be made from
Company's bank account(s) .

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     5. Meetings.
         (a)      The Manager or the Members may call a meeting with the other upon four (4) days' notice by mail or
forty-eight (48) hours' notice delivered personally, by facsimile, telephone, or telegraph. The notice need not indicate
the purpose for which the meeting is called.

         (b)      The Manager or Members present at the meeting may adjourn any meeting to another time and
place.

         (c)      Meetings of the Manager and the Members may be held at the principal place of business of the
Company.

         (d)    The Manager and/or the Members may participate in any meeting by conference telephone or other
similar means of communication, as long as the participating Members and Manager are able to hear each other. A
Manager or Member participating in accordance with the preceding sentence shall be deemed present at the meeting.

         (e)     A majority of the authorized number of Managers constitutes a quorum of Managers for the
transaction of business.

        (n      The decision to have a meeting is solely that of the Manager or the Members. The provisions of this
Paragraph 5 govern the procedures for conducting a meeting. Nothing in this Paragraph 5 is intended to create a
requirement that meetings be held.

    6. Actions Without Meetings. Any action required or permitted to be taken by the Manager may be taken
without a meeting.

    7. Election and Removal of Manager.

         (a)      The Company shall initially have one Manager. The Company may, from time to time, fix the number
of Managers that it shall have, upon the written consent of the Members. However, the Company may not have less
than one (1) Manager at any time. Should the Members elect to increase the number of Managers to more than one
or to reduce it from more than one to one, the Company's Articles of Incorporation ("Articles") shall be amended to
so indicate.

                 (1)     Unless the Manager resigns or is removed, the Manager shall serve until a successor has
         been elected and qualified to serve.

                  (2)    The Manager shall be elected by the affirmative vote or written consent of a Majority Interest
of the Members.

                 (3)      The Manager may, but need not, be a member. The Manager need not be individuals,
         residents of the State of California, or citizens of the United States.

        (b)     The Manager may be removed at any time, with or without cause, upon the decision of the Members.
The removal shall be without prejudice to the rights of the Manager to compensation as provided for in the Amendment
to Operating Agreement.

         (c)      The Manager may resign at any time by providing written notice to the Members. The resignation
shall be effective immediately upon receipt of the notice, unless a later time is specified in the notice. Acceptance of
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 the resignation is not required to make it effective, unless the notice provides otherwise. The resignation shall be
 without prejudice to the rights, if any, of the Company under this Amendment or under the Amendment to Operating
 Agreement.

          (d)    A vacancy shall exist if the Manager is removed, resigns, or dies, if there is an increase in the number
 of authorized positions or if the Members fail to elect a sufficient number of Managers to fill the authorized positions.
 If a vacancy occurs, it may be filled by the written consent of the Members.

     8. Liability for Performance of Duties: Duty of Care.
          (a)      The Manager shall perform its managerial duties in good faith, in a mannerthat it reasonably believes
 to be in the best interests of the Company and its Members, and with such care, including reasonable inquiry, as an
 ordinarily prudent person in the same position would exercise in similar circumstances. A Manager who so performs
 the duties of Manager shall not incur any liability to the Company by reason of being or having been a Manager of
 the Company.

         (b)    In performing its duties, the Manager shall be entitled to rely upon information, reports, opinions, or
statements made by or received from the following Persons or groups, unless the Manager is in the possession of
information regarding the matter in question sufficient to render such reliance unwarranted and provided that the
Managers acts in good faith and after a reasonable inquiry when the need therefore is indicated by the circumstances:

                  (1)    Any officer, employee, or other agent of the Company whom the Manager reasonably
believes to be trustworthy and competent regarding the matters presented;

               (2)     Any attorney, independent accountant, or other professional with regard to matters which
the Manager reasonably believes to be within such person's area of expertise or competence; or

                 (3)     Any committee upon which the Manager does not serve, duly created in accordance with
the provisions of this Amendment or the Articles, as to matters within its designated authority, which committee the
Manager reasonably believes to be competent regarding the matters within the ambit of its authority.

    9. Duty of Loyalty. Subject to the provisions of Paragraph 10 of this Amendment, Manager owes the same
duty of loyalty to the Company and the Members that a partner owes to the partnership and the partners of the
partnership.

     10. Transactions Between Company and Manager. Any Manager or Affiliate of a Manager may engage in
transactions with the Company, notwithstanding that such transactions may constitute a conflict of interest, as long
as the transaction is not expressly prohibited by this Amendment or the Act and both of the following conditions are
met:

        (a)      The terms and conditions of the transaction are fair and reasonable to the Company and are at least
as favorable as those that are generally available from Persons capable of providing the same or similar services and
those between parties operating at arms-length; and

         (b)     The Members having no interest in the transaction (other than their interest as a Member) submits a
written consent to consummating the transaction.



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       11. Limitation on Exposing Members to Personal Liability. Neither the Company nor
                                                                                                 the Manager nor any
  Member may take any action which will have the effect of exposing any Member of the Compan
                                                                                                   y to personal liability
  for the obligations of the Company, without first obtaining the consent of the affected Member
                                                                                                .
     12. Limitations on Manager's Liability. No Person who is a Manager shall be personally
                                                                                            liable under any
 judgmen  t of a court, or in any other manner, for any debt, obligation, or liability of the Company, whether
                                                                                                               that liability
 or obligation arises in contract, tort, or otherwise, solely by reason of being a Manager of
                                                                                                the Company.
      13. Books. Records and Reporting. The Manager shall maintain at the Company's principa
                                                                                            l place of business
 the following books and records :

          (a)     A current list of the full name and last-known business or residence address of each Member
                                                                                                              and
 Manager set forth in alphabetical order, together with the Capital Contribution, Capital
                                                                                          Account, and Membership
 Interest of each Member;

         (b)     A copy of the Articles and all amendments thereto, together with executed copies of any
 attorney pursuant to which the Articles or any amendments thereto were executed;                        powers of

          (c)      Copies of the Company's federal, state, and local income tax or information returns and
 any, for the six (6) most recent taxable years;                                                           reports, if

        (d)      A copy of this Amendment and any amendments hereto, together with executed copies
 powers of attorney pursuant to which this Amendment or any amendments hereto were execute         of any
                                                                                          d;
         (e)     Copies of the Company's financial statements, if any, for the six (6) most recent fiscal years;

         (0      The books and records of the Company as they relate to its internal affairs since its inceptio
                                                                                                               n; and
           (g)    True and correct copies of all relevant documents and records indicating the amount, cost
of all of the property and assets of the Company.                                                           and value

    14. Accounting Methods. The books and records of the Company shall be maintain
                                                                                  ed in accordance with the
accounting methods utilized for federal income tax purposes.

     15. Reoorts . The Manager shall cause to be prepared and filed in a timely manner all
                                                                                            reports and documents
required by any governmental agency. The Manager shall cause to be prepared at least
                                                                                           annually all information
concerning the Company's operations that is required by the Members for the preparation
                                                                                          of their federal and state
tax returns. The Manager shall send to Members within ninety (90) days of the conclusion
                                                                                         of the taxable year:
         (a)     All information concerning the Company's operations necessary to the preparation of the
                                                                                                         Members'
individual federal and state income tax or information returns;

        (b)    An annual report containing a balance sheet as of the end of the fiscal year as well as
                                                                                                       an income
statement and statement of changes in financial position , accompanied by the report
                                                                                         thereon , if any, of the
independent accountant engaged by the Company.

    16. Inspection Rights. For purposes reasonably related to their interests in the Company, the Member
                                                                                                        s shall
have the right to inspect and copy the books and records of the Company during normal
                                                                                      business hours, upon
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reasonable request. The Manager shall provide the Members with copies of all Company records and documents to
which Members are entitled under the Act.

    17. Bank Accounts. The Member shall maintain all of the funds of the Company in a bank account or accounts
in the name of the Company, at a depository institution or institutions to be determined by the Members.

To the extent that any provision in this Amendment to Manager Agreement may conflict in whole or in part with any
provision in either the Manager Agreement or the Operating Agreement, the provisions in this Amendment to Manager
Agreement will control and prevail.

IN WITNESS WHEREOF, the parties have executed or caused to be executed this Amendment, effective as of the
date set forth at the commencement of this document.



                                                          CASTLE REAL ESTATE INVESTMENTS LLC,
                                                         A California limited liability company
                                                                                                           .
Dated:   f JJ/ / 6                                        By ,;u~ ¥dl4,,,fi
                                                             Michelle Halliwell, Member




                                                         BESORATINVESTMENTSJNC~
                                                         A California corporation •/ / ,



Dated i11



                                                         6




                                                     EXHIBIT 2                                                   24
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                                 EXHIBIT 3                                 25
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                                 EXHIBIT 3                                 26
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                                 EXHIBIT 4                                 27
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From:            Michelle Halliwell
To:              webblaw@gmail.com
Subject:         Fwd: Resignation
Date:            Tuesday, February 19, 2019 12:34:04 PM


Below is a conversation, where tony says Besorat needs to resign, however from re-reading it,
I am not sure that I technically accepted the resignation. Can you take a look?

Sent from my iPhone

Begin forwarded message:


       From: Kathy Mills <kmills@allvalleyescrow.com>
       Date: February 11, 2019 at 5:08:25 PM PST
       To: Michelle Halliwell <halliwellm1@gmail.com>
       Subject: RE: Resignation


       Great, thank you! J

       From: Michelle Halliwell [mailto:halliwellm1@gmail.com]
       Sent: Monday, February 11, 2019 4:50 PM
       To: Kathy Mills <kmills@allvalleyescrow.com>
       Subject: Re: Resignation

       Of course- I had another commitment today but I am right back at it tomorrow

       Sent from my iPhone

       On Feb 11, 2019, at 4:05 PM, Kathy Mills <kmills@allvalleyescrow.com> wrote:

             Hi Michelle,

             We are just following up on the status of your LLC documents.

             Would you please email them over to us so we can forward to the
             title company for review?

             Thank you!


             Kathy

             From: Michelle Halliwell [mailto:halliwellm1@gmail.com]
             Sent: Friday, February 08, 2019 1:46 PM
             To: Kathy Mills <kmills@allvalleyescrow.com>
             Subject: Resignation



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          Kathy,

          Go to the bottom of the email to see the start of the conversation
          conversation regarding his resignation.

          Michelle Halliwell
          Castle Real Estate Investments LLC
          810 623 8363

          Sent from my iPhone

          Begin forwarded message:

                   From: Tony Hershman <tony@besorat.com>
                   Date: January 28, 2019 at 3:40:38 PM PST
                   To: Michelle Halliwell <halliwellm1@gmail.com>
                   Subject: RE: update

                   At this point we believe that all debts of Besorat
                   can be paid by the liquidation of all of the
                   existing projects.

                   Any deficit after that liquidation will be dealt
                   with personally

                   Thank you,


                   Tony Hershman
                   President



                   638 Lindero Canyon Rd. #420
                   Oak Park Ca 91377

                   CA BRE # 01352512
                   Auctioneer Bond #57BSBHG1154

                   Direct line- 805-402-8644




                                          EXHIBIT 4                              29
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              From: Michelle Halliwell <halliwellm1@gmail.com>
              Sent: Monday, January 28, 2019 3:35 PM
              To: Tony Hershman <tony@besorat.com>
              Subject: Re: update

              So you are still planning to honor the personal guaranty?

              Sent from my iPhone

              On Jan 28, 2019, at 3:23 PM, Tony Hershman
              <tony@besorat.com> wrote:

                    The email I sent is my resignation- I
                    don’t think we need more

                    Thank you,


                    Tony Hershman
                    President
                    <image001.jpg>




                    638 Lindero Canyon Rd. #420
                    Oak Park Ca 91377

                    CA BRE # 01352512
                    Auctioneer Bond #57BSBHG1154

                    Direct line- 805-402-8644


                    From: Michelle Halliwell
                    <halliwellm1@gmail.com>
                    Sent: Monday, January 28, 2019 3:03 PM
                    To: Tony Hershman <tony@besorat.com>
                    Subject: Re: update

                    Ok, I will wait for your document, unless you
                    want me to resend mine?

                    Sent from my iPhone

                    On Jan 28, 2019, at 2:14 PM, Tony Hershman


                                      EXHIBIT 4                             30
Case 9:20-ap-01033-MB   Doc 1 Filed 05/14/20 Entered 05/14/20 11:13:44   Desc
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                   <tony@besorat.com> wrote:

                         Michelle

                         I need to have Besorat
                         resign as manager
                         effective immediately.

                         Besorat Investments In is
                         filing for bankruptcy by the
                         end of today.

                         I don’t want to draft
                         you/castle into the BK.

                         I will still help you as much
                         as I can in an unofficial,
                         unpaid consulting roll if
                         you need me to.

                         I had a project in OC that
                         was in default and going to
                         go to trustee sale- I had to
                         file to give the investors a
                         chance to recover their
                         investment on that
                         project.

                         I’m tied up for the next
                         few days filing reports with
                         the court

                         Please email me any
                         questions



                                    EXHIBIT 4                              31
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                         We can meet later this
                         week if needed

                         Thank you,


                         Tony Hershman
                         President
                         <image002.jpg>




                         638 Lindero Canyon Rd. #420
                         Oak Park Ca 91377

                         CA BRE # 01352512
                         Auctioneer Bond #57BSBHG1154

                         Direct line- 805-402-8644




                                   EXHIBIT 4                               32
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                                 EXHIBIT 5                                 33
                 Case
                 Case 9:20-ap-01033-MB Doc 11 Filed
                      1:19-bk-10202-VK Doc     Filed 01/28/19
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                                                                        05/14/20 14:52:45
                                                                                 11:13:44 Desc
                                                                                          Desc
                                       Main Document
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                                                           Page 4 of 25
Debtor    Besorat Investments, Inc.                                                                Case number (if known)
          Name                                                                                                              ~~~~~~~~~~~~~~~




          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonmentfor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
   of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
   representative of debtor
                                 t have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury th t the foregoing is true and correct.

                                 Executed on



                                                                                                          Michael Anthony Hershman
                                                                                                          Printed name

                                 Title   President




18. Signature of attorney                                                                                  Date January 28, 2019
                                                                                                                MM/DD/YYYY

                                 M. Jonathan Hayes
                                 Printed name

                                 RESNIK HAYES MORADI, LLP.
                                 Firm name

                                 17609 Ventura Blvd., Suite 314
                                 Encino, CA 91316
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (818) 285-0100                Email address      jhayes@rhmfirm.com


                                 (SBN 90388) CA
                                 Bar number and State




                                                                          EXHIBIT 5                                                                34
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                 EXHIBIT 6                                 35
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              Case 9:20-ap-01033-MB Doc
                                     Doc10
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                                            Filed 05/14/20
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                                    Main Document
                                    Main Document     Page  36 of 72
                                                       Page 52 of 74
Debtor       Besorat Investments, lnc.                                                                  Case number (if known)            1: 19-bk· 10202·VK
             N•Mit

3.3       Nonprlorlty creditor's name and malling address                    As of the petition fll Ing date, the claim is: Check au that apply.                     $348.00
          Axcell Systems, fnc.                                                D Contingent
          P.O. Box 127                                                        D Unliquldated
          Verdugo City, CA 91046                                              D Disputed
          Date(a) debt was_ Incurred_
                                                                              Basis for the claim:     175 Painter St. Pasadena
          Last 4 digits of account number _
                                                                              Is the claim subject t~ offset? •      No   D Yes
34      I Nonpriorlty creditor's name and mailing address                     As of the petition filing date, the claim is:    Check an that apply.              $43,000.00
          Brixton Developers & Co                                             D Contingent
          3334 E. Coast Hwy #358                                              D Unliquidated
          Corona Del Mar, CA 92625                                            D Disputed
          Date(s) debt was Incurred _
                                                                              Basis for the claim:     Services renderred at 4 Emerald Bay
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? •      No   D   Yes

3 .5      Nonprlorlty creditor's name and malling address                     As of the petition filing date, the claim Is: Check an that apply                 $200,000.00
          Castle Real Estate Investments, LLC                                 D Contingent
          Michelle Halliwell                                                  D Unliquidated
          1014 S. Westlake Blvd., #14152                                      D Disputed
          Westlake Village, CA 91361
                                                                              Basis for the claim:
          Date(s) debt was incurred_
          Last 4 digits of-account number_                                    Is the claim subject to offset?    D   No   •   Yes


3.6       Nonprlorlty creditor's name and mailing address                     As of the petition filing date, the claim Is: Check all thar apply                  $60,000.00
          Charles McDonald                                                    D   Contingent
          1731 Howe Avenue #123                                               D   Unliquidated
          Sacramento, CA 95825                                                D   Disputed
          Date(s) debt was Incurred      5/22/ 18                             Basis for the claim:
          last 4 digits of account number _
                                                                              Is the claim subject to ollset? •      No   D   Yes

3.7       Nonprlorlty creditor's name and malling address                     As of the petition filing date, the claim Is: Check alt that apply                        $28.00
          City of Los Angeles                                                 D Contingent
          P.O. Box 845252                                                     D Unliquidated
          Los Angeles, CA 90084                                               D Disputed
          Date(s) debt was Incurred_
                                                                              Basis for the claim:     Fee for brush celarance at 17137 Escalon, LA
          Last 4 digits of account number_
                                                                              Is the' Claim   subj~ to offset?   •   No   D Yes
3.8       Nonprlorlty creditor's name and malling address                     As of t he petition filing date, the claim is: Check all 1hat appty,                      $58.80
          City of Newport Beach                                               D Con1ingent
          P.O. Box 4923                                                       D Unhquidated
          Whittier, CA 90607                                                  D Disputed
          Date(s) debt was incurred_
                                                                              Basis forthe claim:      51 Linda lsle 1 Newport Beach
          Last 4 digits of account number _
                                                                              Is the claim sub1ect to ollset? •      No   D   Yes

 3.9      Nonprlorlty creditor's name and malling address                     As of the petition filing date, the claim ls: Check al//hat apply.                    $1I129-43
          City of Pasadena                                                    D Conhngen1
          Collections Unit                                                    D Unliquidated
          100 N. Garfield Ave., Room N106                                     D Disputed
          Pasadena, CA 91109
                                                                              Basis for the claim:     Service at 175 Painter St. Pasadena
          Date(s) debt was Incurred_
          Last 4 digits of account number_                                    Is the claim sub1ect to of1set? •      No   D   Yes




Of11c1al Form 206 EIF                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9

                                                                                  EXHIBIT 6                                                                        36
Sottware Copyroghl (c) 1996-2018 Best Caso, LLC   -www beslcasa.com                                                                                            Bost Case Banktuptcy
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                                 EXHIBIT 7                                 37
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                                                                                          98
 Debtor 1 Michael A. Hershman
 Debtor 2 Linda J. Hershman                                                                              Case number (if known)

 4.3
 2        Camilo Concha                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          15303 Ventura Blvd. #850                                   When was the debt incurred?
          Sherman Oaks, CA 91403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.3      Castle Real Estate Investments,
 3        LLC                                                        Last 4 digits of account number                                                      $200,000.00
          Nonpriority Creditor's Name
          Michelle Halliwell                                         When was the debt incurred?
          1014 S. Westlake Blvd. #14152
          Westlake Village, CA 91361
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 4        Cathleen Bloeser as Trustee of the                         Last 4 digits of account number                                                      $130,000.00
          Nonpriority Creditor's Name
          Cathleen Bloeser Living Trust                              When was the debt incurred?
          30765 Pacific Coast Highway #314
          Malibu, CA 90265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Deed of Trust




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 35
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                                                                                   EXHIBIT 7                                                                38
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                                 EXHIBIT 8                                 39
         Case
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                                                           72
               M. Jonathan Hayes (Bar No. 90388)
               Roksana D. Moradi-Brovia (Bar No. 266572)
          1    RESNIK HAYES MORADI LLP
               17609 Ventura Blvd., Suite 314
          2    Encino, CA 91316
               Telephone: (818) 285-0100
          3    Facsimile: (818) 855-7013
               jhayes@rhmfirm.com
          4    roksana@RHMFirm.com

          5 Proposed Attorneys for Debtor
            Besorat Investments, Inc.
          6
                                 UNITED STATES BANKRUPTCY COURT
          7
                                  CENTRAL DISTRICT OF CALIFORNIA
          8
                                    SAN FERNANDO VALLEY DIVISION
          9
         10 In re:                                        Case No. 1:19-bk-10202-MB

         11                                               Chapter 11

         12       BESORAT INVESTMENTS, INC.,              STATUS REPORT; DECLARATION
                                                          OF TONY HERSHMAN IN SUPPORT
         13                                               THEREOF

         14                                       Debtor. Date: March 26, 2019
                                                          Time: 1:30 p.m.
         15                                               Place: Courtroom 303
                                                                 21041 Burbank Blvd.
         16                                                      Woodland Hills, CA 91367

         17
         18          TO THE HONORABLE MARTIN BARASH, UNITED STATES

         19 BANKRUPTCY JUDGE; THE UNITED STATES TRUSTEE; CREDITORS AND
         20 ALL PARTIES IN INTEREST:
         21          Besorat Investments, Inc., Debtor and Debtor-in-Possession herein (hereinafter the

         22 “Debtor”), commenced its bankruptcy case by filing a voluntary petition under Chapter 11
         23 of 11 U.S.C. §101 et seq. (the “Bankruptcy Code”) on January 28, 2019.
         24          The Debtor is operating its business and managing its financial affairs as a Debtor-

         25 in-Possession pursuant to §§1107 and 1108 of the Bankruptcy Code.
         26 ///
         27 ///
         28 ///
RESNIK HAYES
 MORADI LLP
                                                EXHIBIT 8                                        40
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                     Per the Order of this Court (Docket No. 11), Debtor hereby submits its Preliminary

          1 Status Report:
          2          1.     A brief description of Debtor’s business and the principal assets and

          3 liabilities of the estate; brief description of the events that led up to and caused the
          4 filing of this case.
          5          Besorat Investments, Inc. is a corporation under the laws of the state of California

          6 on February 15, 2017. Tony Hershman is the President, CEO and he and his wife Linda
          7 are the sole shareholders.
          8
          9          The nature of the debtor’s business.

         10          The Debtor is in the business of buying real property, single family dwellings,

         11 remodeling them, and selling the properties. On the petition date, the Debtor owned 15
         12 properties as set forth below, all in the greater southern California area.   None of the

         13 properties are occupied. The Debtor had only minimal funds in its bank accounts – less
         14 than $1,000.
         15          Fourteen of the properties were purchased with first priority loans from two lenders,

         16 5 Arch LLC and Anchor Loans LLC. All but one of the properties have a second priority
         17 lien in favor of one or more individuals who loaned the funds to allow remodeling or a
         18 more comprehensive rehab. For nine of the properties, the planned remodeling is not
         19 complete. Various amounts are required to complete the work ranging from $40,000 to
         20 $900,000 which the Debtor does not have. The Debtor's general intent is to transfer 11 of
         21 the properties, with the court's consent, to the respective junior lienholders on the property
         22 so that they can complete the planned work.
         23          Five of the properties are on the market and ready to be sold. One other property is

         24 listed with an agent for sale "as is" but the Debtor is seeking debtor-in-possession
         25 financing to complete the work so that the property can be sold for its "as completed"
         26 value. One property listed for sale was in escrow on the petition date but that sale has
         27 since fallen out when the buyer refused to proceed with closing.
         28          The Debtor has no employees and no vehicles.

RESNIK HAYES
 MORADI LLP
                                                EXHIBIT 82                                         41
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                   The major events or circumstances that led to the filing.
          1
          2        The Debtor filed this chapter 11 case to stop a non-judicial foreclosure sale on two

          3 of the properties, 4 Emerald Lane, Laguna Beach and 1153 Roscomare, Los Angeles, CA.
          4
                   Description of the Debtor’s Real property.
          5
                   The Debtor owns the following real property:
          6
          7
                                                                         comments
          8    Address                  FMV             1st Lien
                                                                          Listed for sale at $7.95
          9    4 Emerald Lane           $8.5 million    $6.32 million    million.

         10    Laguna Beach, CA                         to 5 Arch

         11                                             Funding
                                                                         Plans complete for new
         12    12711 Christy Lane,      $995,000 as     $1.05 million    4,500 sq ft home – new
               Rossmoor, CA 90720       is              to 5 Arch        construction
         13
         14                                             Funding
                                                                         Plans complete for new
         15    3192 Oak Knoll           $995,000 as     $1.05 million    4,500 sq ft home – new
               Rossmore, CA 90720       is              to 5 Arch        construction
         16
         17                                             Funding
                                                                         NOD, no NOS – plans
         18    51 Linda Isle            $8.7 million    $5,227           approved by HOA to
               Newport Beach, CA        when            Million to       complete $900k remodel
         19
         20                             complete        Anchor Loans

         21    1153 Roscomare           $4.8 – 5.3      $3.3 million     $150,000 - $200,000 est to

         22    Los Angeles, CA          million         to 5 Arch        complete rehab

         23    90077                    (when           Funding

         24                             complete)

         25    3505 Twin Lake Ridge     $1.65 million $1,212,754         Listed for sale at $1.639

         26    Westlake Vill, CA                        Anchor           million

         27    5657 Tanner Ridge        $840,000        $605,000 to      Offer pending

         28    Ave. Westlake Vil, CA                    Anchor Loans

RESNIK HAYES
 MORADI LLP
                                               EXHIBIT 83                                       42
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                                                           72
                    355 N. Wilton Pl, Los     $1,475          $1,245           In escrow for $1.515 million
          1         Angeles, CA 90004         million         million
          2
                    2906 11th St., Santa      $1.500          $1.153           In escrow - $1.5 million
          3
                    Monica, CA 90405          million         million to
          4
                                                              Anchor Loans
          5
                    2519 Chislehurst Pl.,     $2.6 in         $2.2 mil to      Was planning a $550,000
          6
                    Los Angeles, CA           present         Anchor Loan      remodel
          7
                    90027                     condition
          8
                    4436 Alonzo, Encino,      $1.9 if         $1.232 mil to    Needs $250k of work
          9
                    CA 91316                  rebuilt         Anchor loans
         10
                    17137 Escalon,            $1,350 as is    $1.250 mil to    Needs $300,000 of work
         11
                    Encino, CA 91436                          Anchor Loan
         12
                    95 W. Highland Dr.,       $900,000 if     $475,000 to      Needs $75,000 of work
         13
                    Camarillo, CA             finished        Anchor Loan
         14
                    175 Painter St.,          $900,000        $650,000 to      Needs $45,000 of work
         15
                    Pasadena, CA 91103                        Al Womble
         16
                    2068 W. 29th St., Los     $929,000 if     $588,000 to      Needs $40,000 of work
         17
                    Angeles, CA 90018         finished        Anchor Loans
         18
         19
                        These properties all have second deeds of trust owing to various investors.
         20
                        As of the date of fling this Status Report, there are five pending Motions for Relief
         21
               all set for March 27, 2019. The Debtor will be filing a Notice of Non-Opposition on three
         22
               of the motions; Christy Lane, Oka Knoll and Painter. The Debtor will be opposing the
         23
               MFR on Emerald Bay and Roscomare.
         24
         25
               2.       What are the principal business, financial and legal disputes or problems to be
         26
                        resolved; when does the Debtor anticipate resolving them; what is the best
         27
                        method to resolve those disputes or problems expeditiously and cost-
         28
RESNIK HAYES
 MORADI LLP
                                                   EXHIBIT 84                                         43
         Case
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                    effectively; what does the Debtor hope to accomplish in this case.

          1         The Debtor anticipates that, based on the economics of the property in its present

          2 condition, it will only be able to “save” four of the above properties, 4 Emerald Lane,
          3 Laguna Beach; 1153 Roscomare, Los Angeles, CA; 51 Linda Isle, Newport Beach and
          4 3505 Twin Lake Ridge, Westlake Village. As to the remaining 11 properties, Mr.
          5 Hershman has spoken to several of the junior lenders regarding transferring the property to
          6 them but has not, as of March 12, 2019, reached any agreements on proposed transfers. In
          7 a worse case scenario, the Debtor will not oppose relief from stay on those properties.
          8         Mr. Hershman has also been attempting to arrange postpetition financing (“DIP

          9 Financing”) which will allow him to complete the necessary work on Linda Isle and
         10 Roscoemare, purchase insurance for the properties and provide adequate protection
         11 payments if necessary. No DIP Financing agreement has been reached as of March 12,
         12 2019.
         13         The Debtor believes that each of the lenders has placed forced insurance on the

         14 properties. Since the Debtor learned that the US Trustee would not accept the forced
         15 insurance and requires the Debtor to obtain its own insurance, the Debtor has been
         16 attempting to do so.
         17         As stated above, the Debtor has accepted an offer to sell the 11th Street and Wilton

         18 Properties. The sales prices should be enough to pay the liens although the junior
         19 lienholders might not be paid in full. The Debtor expects to file Motions to Approve the
         20 Sales by March 18, 2019.
         21         The Debtor expects to file a Motion for Turnover of $29,799.14 in funds that was

         22 paid to Sergio Gonzalez out of the sale proceeds of a property immediately prior to the
         23 petition date. The Debtor had settled an issue with a junior lienholder and in essence
         24 acquired the lien position. Mr. Gonzalez nevertheless sent a demand and a reconveyance
         25 to the escrow and was paid by escrow. Those funds belong to the estate.
         26 3.      Is Debtor in full compliance with 11 U.S.C. § 521, § 1106 and 1007 and all

         27         applicable guidelines established by the United States Trustee.

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                     Debtor believes that it is substantial compliance with its obligations as a Debtor-in-

          1 Possession (“DIP”) at this time, or will be by the time of the Status Conference.
          2          The Debtor has not provided the required proof of insurance as mentioned above

          3 but expects to do so shortly.
          4          The US Trustee has filed a Motion to Dismiss the case based on the lack of

          5 insurance. That Motion is set for April 9, 2019. The Debtor expects to have insurance
          6 before then and otherwise be in full compliance.
          7 4.       Is Debtor using cash that any party claims as its cash collateral and, if so, on

          8          what date did Debtor obtain an order authorizing the use of such cash or the

          9          consent of such party.

         10          Cash collateral is not at issue in this case as none of the properties are rented.

         11 5.       Identification of all professionals retained by or intended to be retained by the

         12          estate, the dates on which applications for the employment of such

         13          professionals were filed , the date on which orders were entered in response to

         14          such applications, if any, and a general description of the types of services to be

         15          rendered by each or the purpose of the employment.

         16          Debtor filed its application to employ Resnik Hayes Moradi LLP as general

         17 bankruptcy counsel on March 6, 2019 [Docket No. 41]. Debtor expects to retain a tax
         18 preparation professional shortly. Debtor expects to file Applications to Employ Real
         19 Estate Brokers for the properties he has sold or is trying to sell. At this time, Debtor does
         20 not intend to hire any other professionals.
         21 6.       Projected income and expenses for the first six months of the case.

         22          As the Debtor has no income, any expenses would be speculative. If there are any

         23 proceeds from the anticipated sales, the Debtor will use the funds to purchase the
         24 insurance.
         25 7.       Is this a small business case within the meaning of 11 U.S.C. § 101(51D).

         26          The Debtor’s primary activity is the business of owning or operating real property

         27 or activities incidental thereto and therefore this is not a small business case.
         28 8.       Is this a single asset real estate case within the meaning of 11 U.S.C. §101(51B).

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                     As the Debtor owns several pieces of real property with fewer than four residential

          1 units and therefore this is not a single asset real estate case.
          2 9.       Discuss any significant unexpired leases and executory contracts to which the

          3          debtor is a party and the Debtor’s intentions with regard to these leases and

          4          contracts.

          5          None.

          6 10.      Proposed deadlines for filing proofs of claim and objection to claims.

          7          Debtor requests that the Court set a deadline for filing proofs of claim and proofs of

          8 interest so that it may get a better idea of what claims exist against it, and proposes July 1,
          9 2019 (notice can go out by no later than April 1, 2019). Debtor requests that there be no
         10 deadline set for objections to claims.
         11 11.      Proposed deadlines for filing disclosure statement in support of Chapter 11

         12          plan or reorganization and Chapter 11 plan or reorganization.

         13          Debtor proposes September 1, 2019 as the deadline to file its disclosure statement in

         14 support of Chapter 11 plan or reorganization and Chapter 11 plan or reorganization.
         15
               Dated: March 12, 2019                                  RESNIK HAYES MORADI LLP
         16
         17
                                                             By:        /s/ M. Jonathan Hayes
         18                                                                 M. Jonathan Hayes
                                                                        Roksana D. Moradi-Brovia
         19                                                            Proposed Attorneys for Debtor
                                                                         Besorat Investments, Inc.
         20
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RESNIK HAYES
 MORADI LLP
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                                     DECLARATION OF TONY HERSHMAN

          1
          2          I, TONY HERSHMAN, declare as follows:

          3
          4          1.     I am over the age of eighteen (18). I have personal knowledge of the facts

          5 set forth herein, and if called as a witness, I could and would testify competently with
          6 respect thereto. Where facts are alleged upon information and belief, I believe them to be
          7 true.
          8          2.     Besorat Investments, Inc. is a corporation under the laws of the state of

          9 California on February 15, 2017. I am the President, CEO and my wife Linda and I are the
         10 sole shareholders.
         11          3.     The Debtor is in the business of buying real property, single family

         12 dwellings, remodeling them, and selling the properties. On the petition date, the Debtor
         13 owned 15 properties as set forth below, all in the greater southern California area.    None

         14 of the properties are occupied. The Debtor had only minimal funds in its bank accounts –
         15 less than $1,000.
         16          4.     Fourteen of the properties were purchased with first priority loans from two

         17 lenders, 5 Arch LLC and Anchor Loans LLC. All but one of the properties have a second
         18 priority lien in favor of one or more individuals who loaned the funds to allow remodeling
         19 or a more comprehensive rehab. For nine of the properties, the planned remodeling is not
         20 complete. Various amounts are required to complete the work ranging from $40,000 to
         21 $900,000 which the Debtor does not have. Our general intent is to transfer 11 of the
         22 properties, with the court's consent, to the respective junior lienholders on the property so
         23 that they can complete the planned work.
         24          5.     Five of the properties are on the market and ready to be sold. One other

         25 property is listed with an agent for sale "as is" but I am seeking debtor-in-possession
         26 financing to complete the work so that the property can be sold for its "as completed"
         27 value. One property listed for sale was in escrow on the petition date but that sale has
         28 since fallen out when the buyer refused to proceed with closing.
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                    6.     The Debtor has no employees and no vehicles.

          1         7.     The Debtor filed this chapter 11 case to stop a non-judicial foreclosure sale

          2 on two of the properties, 4 Emerald Lane, Laguna Beach and 1153 Roscomare, Los
          3 Angeles, CA.
          4         8.     I reviewed the table above with the various properties, the values and

          5 provided the various comments for each. The table is substantially accurate to the best of
          6 my knowledge. These properties all have second deeds of trust owing to various investors.
          7         9.     As of the date of fling this Status Report, there are five pending Motions for

          8 Relief all set for March 27, 2019. The Debtor will be filing a Notice of Non-Opposition on
          9 three of the motions; Christy Lane, Oak Knoll and Painter. The Debtor will be opposing
         10 the MFR on Emerald Bay and Roscomare.
         11         10.    I anticipate that, based on the economics of the property in its present

         12 condition, we will only be able to “save” four of the above properties, 4 Emerald Lane,
         13 Laguna Beach; 1153 Roscomare, Los Angeles, CA; 51 Linda Isle, Newport Beach and
         14 3505 Twin Lake Ridge, Westlake Village. As to the remaining 11 properties, I have
         15 spoken or otherwise communicated with several of the junior lenders regarding
         16 transferring the property to them but have not, as of March 12, 2019, reached any
         17 agreements on proposed transfers. In a worst case scenario, the Debtor will not oppose
         18 relief from stay on those properties.
         19         11.    I have also been attempting to arrange postpetition financing (“DIP

         20 Financing”) which will allow us to complete the necessary work on Linda Isle and
         21 Roscoemare, purchase insurance for the properties and provide adequate protection
         22 payments if necessary. No DIP Financing agreement has been reached as of March 12,
         23 2019.
         24         12.    I believed that each of the lenders has placed forced insurance on the

         25 properties. Since I learned that the US Trustee would not accept the forced insurance and
         26 requires the Debtor to obtain its own insurance, I have been attempting to do so.
         27         13.    We accepted an offer to sell the 11th Street and Wilton Properties. The sales

         28 prices should be enough to pay the senior liens and most junior liens which will benefit the
RESNIK HAYES
 MORADI LLP
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               estate. We expect to file a Motion for Turnover of $29,799.14 in funds that was paid to

          1 Sergio Gonzalez out of the sale proceeds of a property immediately prior to the petition
          2 date. I had settled an issue with a junior lienholder and in essence acquired the lien
          3 position. Mr. Gonzalez nevertheless sent a demand and a reconveyance to the escrow and
          4 was paid by escrow. Those funds belong to the estate.
          5          14.    I believe that we are in substantial compliance with our obligations as a

          6 Debtor-in-Possession (“DIP”) at this time, or will be by the time of the Status Conference.
          7 We have not provided the required proof of insurance as mentioned above but expect to do
          8 so shortly.
          9          15.    We expect to retain a tax preparation professional shortly. We expect to file

         10 Applications to Employ Real Estate Brokers for the properties he has sold or is trying to
         11 sell. At this time, we do not intend to hire any other professionals.
         12          16.    There are no executory contract or unexpired leases. None.

         13
         14          I declare under penalty of perjury pursuant to the laws of the United States of

         15 America that the foregoing is true and correct.
         16
         17          Executed March 12, 2019, at __________________, California.

         18
         19
                                                           By: _ SEE NEXT PAGE__________
         20                                                        Tony Hershman
                                                                       Declarant
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         22
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RESNIK HAYES
 MORADI LLP
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                                     PROOF OF SERVICE OF DOCUMENT

          1 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
            My business address is: 17609 Ventura Blvd., Suite 314, Encino, CA 91316.
          2
            A true and correct copy of the foregoing document entitled STATUS REPORT;
          3 DECLARATION OF TONY HERSHMAN IN SUPPORT THEREOF will be served
            or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
          4 2(d); and (b) in the manner indicated below:
          5 I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
            (“NEF”) – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s)
          6 (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to the
            document. On 3/12/2019 I checked the CM/ECF docket for this bankruptcy case or
          7 adversary proceeding and determined that the following person(s) are on the Electronic
            Mail Notice List to receive NEF transmission at the email address(es) indicated below:
          8
                  Service information continued on attached page.
          9
                • Matthew Bouslog        MBouslog@gibsondunn.com, msandoval@gibsondunn.com
         10     • Jerrold   L  Bregman     ecf@bg.law, jbregman@bg.law
                • David I Brownstein       david@brownsteinfirm.com
         11     • Russell  Clementson      russell.clementson@usdoj.gov
                • Theodore A Cohen        tcohen@sheppardmullin.com,
         12         amontoya@sheppardmullin.com
                • Andrew Goodman          agoodman@andyglaw.com
         13     • M.  Jonathan    Hayes    jhayes@rhmfirm.com,
                    roksana@rhmfirm.com;rosario@rhmfirm.com;janita@rhmfirm.com;susie@r
         14         hmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfirm.co
                    m;russ@rhmfirm.com;rebeca@rhmfirm.com
         15     • Nicolino   I Iezza niezza@spiwakandiezza.com
                • Misty A Perry Isaacson       misty@ppilawyers.com,
         16         ecf@ppilawyers.com;perryisaacsonmr51779@notify.bestcase.com
                • James R Selth       jim@wsrlaw.net,
         17         jselth@yahoo.com;brian@wsrlaw.net;vinnet@ecf.inforuptcy.com
                • United States Trustee (SV)       ustpregion16.wh.ecf@usdoj.gov
         18     • Larry   D  Webb      Webblaw@gmail.com,
                    larry@webblaw.onmicrosoft.com;r51666@notify.bestcase.com
         19
            II. SERVED BY U.S. MAIL: On 3/12/2019 I served the following person(s) and/or
         20 entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
            placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
         21 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
            declaration that mailing to the judge will be completed no later than 24 hours after the
         22 document is filed.
         23      Service information continued on attached page

         24 Honorable Martin R. Barash
            United States Bankruptcy Court
         25 Central District -- Valley Branch
            21041 Burbank Boulevard
         26 Suite 342
            Woodland Hills, CA 91367
         27
            Besorat Investments, Inc.
         28 638 Lindero Canyon Rd #420
RESNIK HAYES
 MORADI LLP
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               Oak Park, CA 91377
           1
               ALL CREDITORS:
           2
             5 AIF Sycamore 1, LLC and                    Andrew Michael Ward
           3 5 Arch Funding Corp.                         1271 Granville Ave #404
             19800 MacArthur Blvd., Suite 1150            Los Angeles, CA 90055
           4 Irvine, CA 92612
                                                          Andrew Michael Ward
           5 5 Arch Funding                               1271 Granville Ave #404
             19800 MacArthur Blvd., Suite 1150            Los Angeles, CA 90055
           6 Irvine, CA 92612
                                                          Arlington Investments LLC
           7 5 Arch Funding /5 AIF Maple 2, LLC           68 Genoa St #A
             19800 MacArthur Blvd., Suite 1150            Arcadia, CA 91006
           8 Irvine, CA 92612
                                                          Arturo Gonzalez
           9 Advent Pools                                 31320 Via Colinas, Suite 117
             P.O. Box 3351                                Westlake Village, CA 91362
          10 Winnetka, CA 91396
                                                          Axcell Systems, Inc.
          11 Albert Womble ISAOA                          P.O. Box 127
             Box 3609                                     Verdugo City, CA 91046
          12 Seal Beach, CA 90740
                                                          Ben Rugg
          13 Alfredo Gonzalez                             2995 Brynwood Drive
             11834 East 166 St.                           Fitchburg, WI 53711
          14
             Artesia, CA 90701                            Besorat Properties Rental Fund LLC
          15                                              638 Lindero Canyon Rd #420
             Amarith Development LLC                      Oak Park, CA 91377
          16 500 S Main St., Suite 102
             Orange, CA 92868                             Braemar North Ranch Owners
          17                                              c/o Ross Morgan & Company
             Amarith Development LLC                      P. O. Box 512019
          18 Arman Mirai                                  Los Angeles, CA 90051
             500 S Main St., Suite 102
          19 Orange, CA 92868                             Brixton Developers & Co
                                                          3334 E. Coast Hwy #358
          20 American Express                             Corona Del Mar, CA 92625
             P.O. Box 0001
          21 Los Angeles, CA 90096                        California Dept of Tax and Fee Admi
                                                          Special Ops, MIC 55
          22 American Express National Bank               PO Box 942879
             c/o Becket and Lee LLP                       Sacramento, CA 94279-0005
          23 PO Box 3001
             Malvern, PA 19355                            Castle Real Estate Investments, LLC
          24                                              Michelle Halliwell
             Amit Yonay                                   1014 S. Westlake Blvd., #14152
          25 1768 Mesa Ridge Ave                          Westlake Village, CA 91361
             Westlake Village, CA 91362
          26                                              Cathleen Bloeser as Trustee of the
             Anchor Loans LP                              Cathleen Bloeser Living Trust
          27 5230 Las Virgenes Road, #105                 30765 Pacific Coast Highway #314
             Calabasas, CA 91302                          Malibu, CA 90265
          28
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 MORADI LLP
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             Charles McDonald                             Ezekiel Landscaping Services
           1 1731 Howe Avenue #123                        Saul Arellano
             Sacramento, CA 95825                         P.O. Box 59649
           2                                              Norwalk, CA 90652
             Chester Joseph Smigielski
           3 10 Wales St.                                 Fernando Garcia De la Cruz and
             Thousand Oaks, CA 91360                      Ricardo Fajardo
           4                                              1916 S Ninth Street
             City of Los Angeles                          Anaheim, CA 92802
           5 P.O. Box 845252
             Los Angeles, CA 90084                        Flaster Greenberg PC
           6                                              1810 Chapel Ave. W.
             City of Newport Beach                        Cherry Hill, NJ 08002
           7 P.O. Box 4923
             Whittier, CA 90607                           Franchise Tax Board
           8                                              Attn: Bankruptcy Unit
             City of Pasadena                             P.O. Box 2952
           9 Collections Unit                             Sacramento, CA 95812-2952
             100 N. Garfield Ave., Room N106
          10 Pasadena, CA 91109                           Francis Capital and Gavilan Capital
                                                          Multifamily Opportunity Fund I, LLC
          11 City of Santa Monica                         555 Marin Street, Suite 140
             P.O. Box 7125                                Thousand Oaks, CA 91360
          12 Artesia, CA 90702
                                                          George Polous
          13 Columbia Pacific Finance                     15 Mistral
             P.O. Box 80506                               Aliso Viejo, CA 92656
          14 City of Industry, CA 91716
                                                          GMDM Investments, LLC
          15 Consumer Acceptance Corp.                    7280 West Palmetto Park Rd, # 106-N
             15303 Ventura Blvd, #850                     Boca Raton, FL 33433
          16 Sherman Oaks, CA 91403
                                                          Graham Barker
          17 Consumer Acceptance Corp.                    P.O. Box 5137
             c/o Michael E Adler, Esq.                    Chatsworth, CA 91311
          18 Greenberg, Whitcombe, Takeuchi Gibs
             21515 Hawthorne Blvd., Ste. 450              Grant S. Pederson, Trustee of the
          19 Torrance, CA 90503                           Pederson Family Trust
                                                          1022 Bradbury Court
          20 David Homan General Contractor               Westlake Village, CA 91361
             4248 McLaughlin Avenue.
          21 Los Angeles, CA 90066                        Hossein & Susan Balou
                                                          517 N Dwyer Dr
          22 David Spangler                               Anaheim, CA 92801
             4924 Balboa Blvd., #164
          23 Encino, CA 91316                             IKO Investments
                                                          1768 Mesa Ridge Ave
          24 EDD                                          Westlake Village, CA 91362
             PO Box 826218
          25 Sacramento, CA 94230-6218                    Internal Revenue Service
                                                          P.O. Box 7346
          26 Emerald Bay Community Assoc                  Philadelphia, PA 19101-7346
             c/o Jillisa OBrien P.C.
          27 5 Corporate Park, #260                       Jim & Celeste Kelber
             Irvine, CA 92606                             1916 Court St
          28                                              Newport Beach, CA 92663
RESNIK HAYES
 MORADI LLP
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                                                         Maven Associates
           1 Joshua Marder                               1413 Kenneth Rd. Ste. 888
             401 Rockefeller, Apt B1013                  Glendale, CA 91210
           2 Irvine, CA 92612
                                                         Michael Anthony Hershman
           3 KCB Plumbing                                638 Lindero Cyn #420
             12630 Hoover Street                         Oak Park, CA 91377
           4 Garden Grove, CA 92846
                                                         NuLookFloor
           5 Kenneth Wilkinson                           9262 Hyssop Dr.
             3061 Michael Drive                          Rancho Cucamonga, CA 91730
           6 Newbury Park, CA 91320
                                                         Orange County Treasurer & Tax Colle
           7 Kevin Kanegai                               P.O. Box 1438
             3314 Iroquois Ave                           Santa Ana, CA 92702
           8 Long Beach, CA 90808
                                                         Los Angeles County Treasurer and tax
           9 Kingdom Industry, LLC                       Collector
             2490 Turquoise Circle                       PO Box 54110
          10 Newbury Park, CA 91320                      Los Angeles, CA 90054
          11 KM Interiors                                County of Orange
             574 Katherine Avenue                        PO Box 4515
          12 Van Nuys, CA 91401                          Santa Ana, CA 92702
          13 LADWP                                       Orange County Treasurer & Tax Colle
             Attn: Bankruptcy Department                 12 Civic Center Plaza, Room G58
          14 PO Box 5111                                 Santa Ana, CA 92702
             Los Angeles, CA 90051-0100
          15                                             Parkwood Estates Property Owners As
             Laguna Beach County Water District          P.O. Box 3461
          16 P.O. Box 987                                Thousand Oaks, CA 91359
             Laguna Beach, CA 92652
          17                                             Paulette Callahan
             Las Virgenes Municipal Water Distri         31320 Via Colinas Suite 117
          18 P.O. Box 4901                               Westlake Village, CA 91362
             Whittier, CA 90607
          19                                             Phillip Salvadore
             Levbern Properties LLC                      c/o Keller Williams
          20 c/o Andrew Ward                             111 N. 1st St., Ste. 300
             1271 Granville Ave #404                     Burbank, CA 91502
          21 Los Angeles, CA 90055
                                                         Pleasant Valley Mutual Water Co.
          22 Linda Isla Vista Community Assoc            1863 Las Posas Rd.
             c/o Keystone Property Management            Camarillo, CA 93010
          23 16775 Von Karmen #100
             Irvine, CA 92606                            Poolfessionals
          24                                             23052 Alicia, Ste H, #199
             Lisa Marie Conley-Lambert                   Mission Viejo, CA 92692
          25 80 Borghese
             Irvine, CA 92618                            RCBM
          26                                             1007 W. Kenneth Road
             Los Angeles County Tax Collector            Glendale, CA 91202
          27 PO Box 54110
             Los Angeles, CA 90054-0110                  RCBM General Contractor, Inc.
          28                                             1007 W. Kenneth Rd.
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               Glendale, CA 91202                       Rosemead, CA 91771-0001
           1
             Reginald Evans                             SRG, LLP
           2 3488 Chestnut Dr                           16633 Ventura Blvd. 6th Floor
             Norco, CA 92860                            Encino, CA 91436
           3
             Reginald Evans                             State Compensation Insurance Fund
           4 PO Box 11726                               P.O. Box 7441
             Costa Mesa, CA 92627                       San Francisco, CA 94120
           5
             Ricardo Manciel                            Tam Le
           6 424 Diana Place                            15811 Exeter St
             Fullerton, CA 92833                        Westminster, CA 92683
           7
             Robert & Tamorah Schuett                   The Kuther Living Trust
           8 1991 Country Club Road                     Ryan D. Kuther, Amy M. Kuther co Tr
             Thousand Oaks, CA 91360                    1652 Folkstone Terrace
           9                                            Westlake Village, CA 91361
             Rodgers Group
          10 11812 San Vicente Blvd # 100               Theodore A. Cohen
             Los Angeles, CA 90049                      Shadi Farzan
          11                                            Sheppard, Mullin, Richter & Hampton
             Roshanak Khojasteh                         LLP
          12 4820 Bellflower Ave #311                   333 South Hope Street, 43rd Floor
             North Hollywood, CA 91601                  Los Angeles, CA 90071
          13
             Ryan Bradley                               The Kelber Community Trust
          14 1350 E Los Angeles Ave Suite 3C,           c/o Brutzkus Gubner
             Simi Valley, CA 93065                      ATTN: Jerrold L. Bregman
          15                                            21650 Oxnard St., Ste. 500
             S & S Landscape Maintenance                Woodland Hills, CA 91367
          16 P.O. Box 312
             Moorpark, CA 93020                         Tiffany Windsor
          17                                            3063 Los Robles Rd.
             Sam Salgado                                Thousand Oaks, CA 91362
          18 P.O. Box 312
             Moorpark, CA 93020                         Todd Vigneux, Trustee of the
          19                                            Vigneux Family Trust
             Signature Staging LLC                      442 Queensbury Street
          20 1271 Granville Ave #404                    Thousand Oaks, CA 91360
             Los Angeles, CA 90025
          21                                            Tommy Lee Thomas
             Smits Realty                               c/o Strategic Realty
          22 26050 Mureau Road | Suite 101              27489 Agoura Rd
             Calabasas, CA 91301                        Agoura Hills, CA 91301
          23
             SoCal Gas                                  Ventura County Tax Collector
          24 P.O. Box C                                 800 South Victoria Avenue
             Monterey Park, CA 91756                    Ventura, CA 93009-1220
          25
             SoCal Gas                                  Vesta Home
          26 PO Box 30337                               1900 E. 25th St.
             Los Angeles, CA 90030                      Vernon, CA 90058
          27
             Southern California Edison                 Waste Management of Orange County
          28 P.O. Box 600                               P.O. Box 541008
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               Los Angeles, CA 90054
           1                                  Zahra Azizi
             Waterlee, Inc                    3301 Michelson Apt. #2213
           2 29500 Heathercliff Rd #42        Irvine, CA 92612
             Malibu, CA 90265
           3
             RETURNED MAIL/REMOVED CREDITORS:
           4
             (new address above)
           5 David Spangler
             27489 Agoura Road
           6 Agoura Hills, CA 91301
           7
             III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
           8 TRANSMISSION OR EMAIL (indicate method for each person or entity served):
             Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 3/12/2019 I served the following
           9 person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
             consented in writing to such service method), by facsimile transmission and/or email as
          10 follows. Listing the judge here constitutes a declaration that personal delivery on the judge
             will be completed no later than 24 hours after the document is filed.
          11
                 Service information continued on attached page
          12
             I declare under penalty of perjury under the laws of the United States of America that the
          13 foregoing is true and correct.
          14   3/12/2019                 Ja’Nita Fisher                 /s/ Ja’Nita Fisher
               Date                       Type Name                     Signature
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1     PETER C. ANDERSON
      UNITED STATES TRUSTEE
2     Russell Clementson, Bar No. 143284
      Trial Attorney
3     Katherine C. Bunker, Bar No. 240593
      Trial Attorney
      UNITED STATES TRUSTEE
4     915 Wilshire Blvd., Ste. 1850
      Los Angeles, California 90017
5     Telephone: (213) 894-3326
      Facsimile: (213) 894-0276
6     E-mail: kate.bunker@usdoj.gov
7

8                             UNITED STATES BANKRUPTCY COURT

9                              CENTRAL DISTRICT OF CALIFORNIA

10                               SAN FERNANDO VALLEY DIVISION

11    In re                                          )   Case No. 1:19-bk-10202-MB
                                                     )
12                                                   )   Chapter 7
      BESORAT INVESTMENTS, INC.,                     )
                                                     )   UNITED STATES TRUSTEE’S
13                                 Debtor.           )   OPPOSITION TO MOTION TO (1)
                                                     )
14                                                   )   APPROVE SALE OF 51 LINDA ISLE,
                                                     )   NEWPORT BEACH, CALIFORNIA 92660
15                                                   )   FREE AND CLEAR OF ALL LIENS,
                                                     )   INTERESTS, CLAIMS, AND
16                                                   )
                                                     )   ENCUMBRANCES TO ATTACH TO
17                                                   )   PROCEEDS PURSUANT TO 11 U.S.C.
                                                     )   §§ 363(b) AND (f); (2) APPROVE
18                                                   )   OVERBID PROCEDURES; (3)
                                                     )   DETERMINE THAT BUYER IS
19                                                   )
                                                     )   ENTITLED TO PROTECTION
                                                     )   PURSUANT TO 11 U.S.C. § 363(m); AND
20
                                                     )   (4) APPROVE CARVE-OUT
                                                     )
21                                                   )   Date: June 12, 2019
                                                     )
22                                                   )   Time: 11:00 a.m.
                                                     )   Ctrm: 303
23                                                   )
                                                     )
24

25            TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY

26    JUDGE, AND OTHER PARTIES IN INTEREST:

27            The United States Trustee has reviewed the Motion to (1) Approve Sale of 51 Linda Isle,

28    Newport Beach, California 92660 Free and Clear of All Liens, Interests, Claims, and

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1     Encumbrances to Attach to Proceeds Pursuant to 11 U.S.C. §§ 363(b) and (f); (2) Approve

2     Overbid Procedures; (3) Determine that Buyer Is Entitled to Protection Pursuant to 11 U.S.C. §

3     363(m); and (4) Approve Carve-Out (“Motion”) and opposes the Motion on the following

4     grounds.

5     A.     The Bankruptcy Case

6            According to the debtor’s status report, on February 15, 2017, Besorat Investments, Inc.

7     (“Debtor”) began operating in California. [Docket No. 47]. Its sole shareholders are Tony

8     Hershman and his wife Linda. Id. The Debtor was in the business of buying real property,

9     single family dwellings, remodeling them, and selling the properties. Id. In order to obtain the

10    necessary funds to remodel or rehab the properties, the Debtor obtained loans in the millions of

11    dollars from investors who in return were given junior deeds of trust against the properties. Id.

12    Unbeknownst to the investors, allegedly not all of deeds of trust were properly granted and/or

13    recorded as promised by the Debtor.

14           On January 28, 2019, the Debtor filed for bankruptcy relief under Chapter 11 of the

15    Bankruptcy Code. As of the petition date, the Debtor owned 15 residential real properties

16    located throughout Southern California and had less than $1,000 in its bank account. Id. Out of

17    the 15 properties, nine were in the process of being remodeled, five were on the market and

18    ready to be sold, and one was listed with an agent for sale “as is” but the Debtor was hoping to

19    obtain financing to complete the work and sell it at its optimal value. Id. All but one of the

20    properties had junior priority liens in favor of one or more individuals who loaned the funds to

21    allow remodeling or a more comprehensive rehab. Id. The bankruptcy filing was initiated to

22    stop non-judicial foreclosure sales on two of the properties. Id.

23           On April 11, 2019, the case was ordered converted to Chapter 7 and Nancy Zamora was

24    appointed the Chapter 7 Trustee. As of May 20, 2019, the Claims Register lists that

25    $3,214,138.35 in total claims have been filed, including $1,137,992.52 in secured claims and

26    $6,240.74 in priority claims.

27    //

28    //

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1     B.       The Motion

2              The Motion seeks authority for the Chapter 7 Trustee (“Trustee”) to short sell one of the

3     Debtor’s properties located at 51 Linda Isle, Newport Beach, California 92660 (“Property”) for

4     $5,400,000.00 (“Purchase Price”) to the Shahbazi Family Trust free and clear of all liens,

5     interests, claims, and encumbrances and to authorize the Trustee to pay all customary closing

6     costs, undisputed tax liens, and the 5% broker’s commission. Motion at 7. 1 The sale will be

7     subject to overbidding, but currently the Trustee is unaware of any overbidders. Id. at 13-14 &

8     32. As of the filing of the Motion, the Property had been on the MLS for 17 days, and during

9     this short period of time, the Property had been marketed through the mailing of postcards to

10    residents in the vicinity of the Property, private showings, and the facilitation of broker-led

11    showings for several agents who were provided the combination to the lock-box on the Property.

12    Id. at 31.

13             A preliminary title report for the Property indicates that there are $7,172,145.86 in liens

14    encumbering the Property, including

15             -   A first deed of trust held by Anchor Loans, LP (“Anchor”) for $4,657,730.93;

16             -   A second deed of trust held by Strategic Emerging Economics, Inc. (“Strategic”) for

17                 $805,826.24;

18             -   A third deed of trust held by a number of investors, including Francis Capital &

19                 Gavilan Capital Multifamily Opportunity Fund I, 2 (collectively “Junior Lienholders”)

20                 for $1,697,720.00; and

21             -   Tax liens of $87,304.01.

22    Id. at 10. Despite the extent of the liens encumbering the Property in excess of the amount of the

23    proposed Purchase Price, the Trustee proposes to sell the Property free and clear of interests

24    pursuant to 11 U.S.C. § 363(f) based on the Trustee’s belief that Anchor’s lien and Strategic’s

25

26    1
          Page references to the Motion are the ECF page numbers on the top of the page.
27
      2
       Francis Capital & Gavilan Capital Multifamily Opportunity Fund I (“Francis Capital”) holds a
28    71.7268% interest in the third deed of trust, providing it with the majority interest. Motion at 10.

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1     lien are both in bona fide dispute and the carve-out the Trustee is obtaining from the Junior

2     Lienholders. Id. at 16.

3             Specifically, the Motion asserts that Anchor’s lien is in bona fide dispute because the

4     Trustee believes there may be a claim for equitable subordination pursuant to 11 U.S.C. § 510(c)

5     or a claim that there are equitable grounds to adjust Anchor’s default interest rate. 3 Id. at 17-20.

6     In regard to Strategic’s lien, based on an argument raised by Francis Capital in response to

7     Strategic’s pending relief from stay motion [Docket No. 124], the Trustee contends that a

8     marshalling argument can be made against Strategic’s interest in the Property because Strategic’s

9     lien is cross-collateralized by nine non-debtor properties that allegedly have more than enough

10    equity to pay the lien in full prior to Strategic having to resort to the Property. See id. at 20.

11            The carve-out with the Junior Lienholders provides that after resolution of the first and

12    second deeds of trust encumbering the Property and after subtracting closing costs and taxes

13    estimated at $407,304 ($270,000 broker’s commission at 5% + $50,000 in closing costs +

14    $87,304 in property taxes), the Junior Lienholders will carve-out the following from the net

15    proceeds owed to them:

16            -   $0 to $32,500: 100% will go to the estate;

17            -   $32,501 to $100,000: 20% will go to the estate; 80% will go to the Junior

18                Lienholders; and

19            -   Over $100,000: 10% will go to the estate; 90% will go to Junior Lienholders

20    (the “Carve-Out”). 4 Id. at 11. If the Junior Lienholders are successful with the marshalling

21    argument 5 and Strategic’s lien is paid off from the non-debtor properties, it is estimated that the

22    3
       The Trustee has commenced her investigation in the Debtor’s business dealings with Anchor,
23    however, the investigation is just in its early discovery stages. Motion at 28.

24    4
       The Carve-Out agreement is between the Trustee and Francis Capital. Motion at 11. The email
      attached to the Motion as evidence of the Carve-Out states that Francis Capital is “in the process
25
      of contacting the other 29% holders of the third deed of trust[,]” and that it was “confident that
26    [it] can get everyone on board[.]” Id. at 78. The Motion does not contain any other information
      to confirm whether the other 29% holders of the third deed of trust have consented to the Carve-
27    Out.

28    5
        Strategic’s pending relief from stay motion is set be heard on June 12, 2019, the same date as
      the Motion. Thus, there has been no ruling on the marshalling argument made by Francis
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1     current Purchase Price would cause the estate to receive $49,626.00 pursuant to the Carve-Out.

2     Id. at 21. In exchange for the Carve-Out, the Trustee has agreed to the following:

3             (1) the Trustee will support Junior Lienholders’ marshalling argument against
              Strategic; (2) the Trustee will not, in any negotiations with Strategic, agree to
4             oppose the Junior Lienholders’ marshalling argument; (3) should the Trustee
              negotiate a carve-out with Strategic, such carve-out will not apply unless and until
5             Strategic has first monetized the 9 non-debtor sources for satisfaction of its claim;
              (4) the agreed upon Carve-Out is from net proceeds, not including payment of
6
              taxes, broker commissions and other closing costs; (5) if the Trustee is able to
7             negotiate a carve-out with Anchor, the Junior Lienholder [sic] shall receive 25%
              of any carve-out negotiated with Anchor and the Estate will receive 75% of any
8             such carve-out; and (6) if the Trustee is able to negotiate a carve-out with
              Strategic, Junior Lienholder [sic] shall receive 40% of any such carve-out and the
9             Estate will receive 60% of any such carve-out.
10

11    Id. at 11.

12            The Motion states that “the estimate[d] Carve-Out is likely to result in at least

13    $41,653.20[6] for the Estate, subject to overbid,” and thus, “the Carve-Out should be approved as

14    a benefit of the Estate which is likely to result in a meaningful distribution to creditors.” Id. at

15    22. The Trustee acknowledges in her declaration filed in support of the Motion that the Carve-

16    Out is completely dependent on the Junior Lienholders prevailing on their marshalling argument

17    against Strategic if there is no overbidding or subordination of the Anchor claim. See id. at 29.

18            1.      The Motion Fails to Provide Sufficient Evidence that the Carve-Out Will Provide

19                    a Meaningful Distribution to Nonpriority, Unsecured Creditors of the Estate

20            The Motion and Trustee’s declaration are void of any information as to how the estimated

21    proceeds to the estate will be distributed. “It is universally recognized . . . that the sale of a fully

22    encumbered asset is generally prohibited.” In re KVN Corp., Inc., 514 B.R. 1, 5 (9th Cir. BAP

23    2014). See also Morgan v. K.C. Mach. & Tool Co. In re K.C. Mach. & Tool Co.), 816 F.2d 238,

24

25    Capital. To date, the Court’s electronic docket for this case shows that the Trustee has not filed
      her own opposition to Strategic’s relief from stay motion nor filed any joinder to Francis
26
      Capital’s opposition.
      6
27      The Motion provides for two different figures as to what the estimated proceeds from the
      Carve-Out will be if Francis Capital is successful with its marshalling argument against
28    Strategic. Compare Motion at 21 & 29 (listing estimated Carve-Out at $49,626.60) with Motion
      at 22 (listing estimated Carve-Out at $41,653.20).
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1     245-46 (6th Cir. 1987) (“It is generally recognized that a chapter 7 trustee should not liquidate

2     fully encumbered assets, for such action yields no benefit to unsecured creditors.”); In re

3     Covington, 368 B.R. 38, 41 (Bankr. E.D. Cal. 2006) (“[W]hen an asset is fully encumbered by a

4     lien, it is considered improper for a chapter 7 trustee to liquidate the asset.”); In re Preston

5     Lumber Corp., 199 B.R. 415, 416 (Bankr. N.D. Cal. 1996) (actual conflict of interest arises when

6     the trustee sees he can make more money for himself by liquidating collateral for a secured

7     creditor than he can by asserting a claim against the secured creditor on behalf of the estate).

8     When a trustee encounters a fully encumbered asset, in most situations, “the trustee’s proper

9     function is to abandon the property, not administer it, because the sale would yield no benefit to

10    unsecured creditors.” KVN Corp., 514 B.R. at 6.

11            “Despite the general rule prohibiting the sale of fully encumbered property, chapter 7

12    trustees may seek to justify the sale through a negotiated carve-out agreement with the secured

13    creditor.” KVN Corp., 514 B.R. at 6. The Official Handbook of Chapter 7 Trustees

14    (“Handbook”) provides trustees with further guidance on carve-out agreements in the context of

15    a sale and states that:

16            A trustee may sell assets only if the sale will result in a meaningful distribution to
              creditors. . . The trustee may seek a “carve-out” from a secured creditor and sell
17            the property at issue if the “carve-out” will result in a meaningful distribution to
              creditors. The trustee must also consider whether the cost of administration or tax
18            consequences of any sale would significantly erode or exhaust the estate’s equity
              interest in the asset. If the sale will not result in a meaningful distribution to
19            creditors, the trustee must abandon the asset. See Handbook Chapter 4.C.3.e
20            regarding abandonments.

21    Handbook, Chapter 4, C. 9.a, page 4-14.

22            Approval of a carve-out agreement used by a chapter 7 trustee to rebut the general rule

23    should be carefully reviewed to ensure that the sale is beneficial to the estate. See KVN Corp.,

24    514 B.R. at 7 (“Although there is no per se ban on carve-out agreements, [such agreements] . . .

25    have been reviewed under a standard of heightened scrutiny due to past abuses.”). In

26    determining whether the presumption has been rebutted, the following inquiry should be made:

27            Has the trustee fulfilled his or her basic duties? Is there a benefit to the estate; i.e.,
              prospects for a meaningful distribution to unsecured creditors? Have the terms of
28            the carve-out agreement been fully disclosed to the bankruptcy court? If the

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1             answer to these questions is in the affirmative, then the presumption of
              impropriety can be overcome.
2
      Id. at 8.
3
              Here, the Motion provides insufficient information to answer each of these questions in
4
      the affirmative. Specifically, the Motion fails to provide sufficient information for the United
5
      States Trustee or parties in interest to analyze the expected distribution of proceeds from the sale
6
      or to determine whether the KVN Corp. factors have been satisfied. In fact, the current Purchase
7
      Price does not even cover payment of Anchor’s and Strategic’s liens. Thus, the Carve-Out is
8
      completely dependent on the Junior Lienholders prevailing on their marshalling argument
9
      against Strategic if there is no overbidding or subordination of the Anchor claim. Even the
10
      Trustee acknowledges in her declaration that for the Carve-Out to provide any benefit to the
11
      estate, the Junior Lienholders will need to prevail in their marshalling argument against
12
      Strategic. Motion at 29. The Motion is unpersuasive as to how the proposed sale can be
13
      approved in advance of each necessary contingency first being resolved.
14
              Even assuming arguendo that Francis Capital is successful with its marshalling argument
15
      against Strategic, the estate is estimated to receive just $49,626.60 from the Carve-Out. Motion
16
      at 21 & 29. Notably, although the Motion states that Carve-Out “is likely to result in a
17
      meaningful distribution to creditors[,]” id. at 22, it lacks any information from which the Court
18
      and/or any interested party can determine what amount will be distributed to unsecured creditors.
19
      Further, except for the $270,000 estimated broker’s commission and closing costs, no
20
      information has been provided about the administrative costs associated with the sale of the
21
      Property, including the legal fees that have been incurred to date or the Trustee’s anticipated
22
      compensation resulting from the sale. Nor is there any information as to whether a specific
23
      dollar amount or percentage will be earmarked for unsecured creditors.
24
              Further, the transaction described in the Motion is complex. Other legal outcomes—one
25
      of which is entirely controlled by a third party, not the estate—must successfully occur before
26
      the Carve-Out can be effectuated. Additionally, there are provisions in the Carve-Out which
27
      require the estate to share with the Junior Lienholders proceeds received from carve-outs the
28
      estate may obtain with Anchor and Strategic. The Motion does not analyze these provisions. It
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1     is unclear that it is in the best interests of the estate to agree to share these possible carve-outs

2     with the Junior Lienholders, particularly where the estate will bear the cost to obtain them.

3     Moreover, the Carve-Out was negotiated between the Trustee and Francis Capital. There is no

4     evidence in the Motion to establish that all the Junior Lienholders agree with the terms of the

5     Carve-Out.

6             As with an earlier sale motion filed in this case to which the United States Trustee also

7     has objected, this Motion leaves the parties—including the holders of over $2 million in

8     unsecured claims who have the greatest interest in the details of the proposed sale—in no

9     position to determine whether the proposed sale is in the estate’s best interests or to otherwise

10    meaningfully exercise their rights. 7

11            2.      The $270,000 Broker’s Commission Is Excessive and Payment is Premature

12                    Based on the Unknown Distribution to be provided to the Estate

13            The Motion seeks authority to pay out of escrow a real estate brokerage fee equal to 5%

14    of the Purchase Price. Motion at 24. Based on the current Purchase Price, this would amount to

15    a $270,000 broker’s commission, which could increase if there is overbidding. Id. at 21.

16            As discussed above, certain events must occur before the estate will receive any monies

17    under the Carve-Out. At this point in time, it is unknown whether Francis Capital will be

18    successful with its marshalling argument, whether there will be any overbidders at the sale

19    hearing, or whether the Trustee will be successful in subordinating Anchor’s lien and/or

20    obtaining carve-outs from Anchor or Strategic. Thus, if the real estate brokers’ compensation is

21    approved and paid out of escrow, the real estate brokers involved in the transaction, including the

22    Trustee’s broker whose application to be employed as an estate professional is pending, would

23    have been paid collectively $270,000—about five times more than what the estate will receive to

24    pay any other administrative expenses associated with the Sale—before the speculative benefit to

25

26    7
        The United States Trustee recognizes that a many of the Debtor’s investors, who represent a
27    significant portion of the unsecured creditors, may be victims of fraud or malfeasance by the
      Debtor and that the distribution from the proposed sale may be one of the few assets to provide
28    them any return on their investment.

                                              EXHIBIT 9 8                                           65
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1     the estate from their efforts has been realized. 8 The Trustee has a duty to make sure that estate

2     property is not sold solely for professionals’ benefit. The brokers’ commission, as currently

3     structured, may well make it impossible for the Trustee to fulfill that duty. 9

4                                            CONCLUSION

5            It is the Trustee’s burden to show that the sale of the Property will benefit the Estate and

6     provide a meaningful distribution to unsecured creditors. The Motion fails to do this.

7     Accordingly, the Court should not approve the Motion unless the Trustee provides adequate

8     evidence, including a detailed estimate of how the Carve-Out will be distributed and an

9     explanation as to why the broker commission is not excessive, to establish that the sale of the

10    Property would be proper under the Code and controlling authority.

11    Dated: May 28, 2019                                    UNITED STATES TRUSTEE

12                                                           By: /s/ Katherine C. Bunker
                                                                Katherine C. Bunker
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25    8
       The estate’s real estate broker is entitled to 50% of the total commission. Accordingly, she
      would receive at least $135,000 and possibly more if there are overbidders.
26
      9
27      The pending employment application for the real estate broker states that approval of the
      broker’s compensation is to be pursuant to § 330. [Docket No. 170]. Thus, the United States
28    Trustee believes that the Court has the ability to reduce the commission if it does not represent
      reasonable compensation based on the facts and circumstances surrounding the broker’s services.
                                          EXHIBIT 9 9                                           66
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1                              PROOF OF SERVICE OF DOCUMENT
2     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017
3

4     A true and correct copy of the foregoing document entitled (specify): UNITED STATES TRUSTEE’S
      OPPOSITION TO MOTION TO (1) APPROVE SALE OF 51 LINDA ISLE, NEWPORT BEACH,
      CALIFORNIA 92660 FREE AND CLEAR OF ALL LIENS, INTERESTS, CLAIMS, AND
5
      ENCUMBRANCES TO ATTACH TO PROCEEDS PURSUANT TO 11 U.S.C. §§ 363(b) AND (f); (2)
      APPROVE OVERBID PROCEDURES; (3) DETERMINE THAT BUYER IS ENTITLED TO PROTECTION
6     PURSUANT TO 11 U.S.C. § 363(m); AND (4) APPROVE CARVE-OUT, will be served or was served (a)
      on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
7     stated below:

8     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
9     hyperlink to the document. On 5/28/2019, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
10    receive NEF transmission at the email addresses stated below:

11                                                          Service information continued on attached page

12    2. SERVED BY UNITED STATES MAIL:
      On 5/28/2019, I served the following persons and/or entities at the last known addresses in this
13    bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
14    constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
15
                                                            Service information continued on attached page
16    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on N/A,
17    I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
      who consented in writing to such service method), by facsimile transmission and/or email as follows.
18    Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
      will be completed no later than 24 hours after the document is filed.
19
                                                            Service information continued on attached page
20
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
21    correct.

22      5/28/2019             Veronica M. Hernandez                        /s/ Veronica M. Hernandez
        Date                     Printed Name                              Signature
23

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1                          SERVICE LIST FOR PROOF OF SERVICE

2      SERVED ELECTRONICALLY                           SERVED BY U.S. MAIL
       Russell Clementson                              Honorable Martin Barash
3      Russell.clementson@usdoj.gov                    21041 Burbank Blvd.
                                                       Woodland Hills, CA 91367
       Katherine Bunker kate.bunker@usdoj.gov
4      Matthew Bouslog MBouslog@gibsondunn.com,        Besorat Investments, Inc.
       msandoval@gibsondunn.com                        638 Lindero Canyon Rd #420
5                                                      Oak Park, CA 91377
       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
6      David I Brownstein david@brownsteinfirm.com
                                                       Resnik Hayes Moradi LLP
       Theodore A Cohen tcohen@sheppardmullin.com,     17609 Ventura Blvd., Ste. 314
7      amontoya@sheppardmullin.com                     Encino, CA 91316
       Jorge A Gaitan ecf@bg.law, jgaitan@bg.law
8      Oscar Garza ogarza@gibsondunn.com,              SLBIGGS
       mpeck@gibsondunn.com                            10960 Wilshire Blvd., 7th Fl.
9                                                      Los Angeles, CA 90024
       Andrew Goodman agoodman@andyglaw.com
10     M. Jonathan Hayes jhayes@rhmfirm.com,
       roksana@rhmfirm.com;rosario@rhmfirm.com;
11     janita@rhmfirm.com;susie@rhmfirm.com;
       max@rhmfirm.com;priscilla@rhmfirm.com;
12     pardis@rhmfirm.com;russ@rhmfirm.com;
       rebeca@rhmfirm.com
13
       Garrick A Hollander ghollander@wcghlaw.com,
14     pj@wcghlaw.com;jmartinez@wcghlaw.com;
       Meir@virtualparalegalservices.com
15     Nicolino I Iezza niezza@spiwakandiezza.com
       Misty A Perry Isaacson misty@ppilawyers.com,
16     ecf@ppilawyers.com;
       perryisaacsonmr51779@notify.bestcase.com
17
       S Margaux Ross margaux.ross@usdoj.gov
18     James R Selth jim@wsrlaw.net,
       jselth@yahoo.com;brian@wsrlaw.net;
19     gabby@wsrlaw.net;vinnet@ecf.inforuptcy.com
       Kelly Sweeney ksweeney@spiwakandiezza.com,
20     nbuttis@spiwakandiezza.com
       Larry D Webb Webblaw@gmail.com,
21
       larry@webblaw.onmicrosoft.com;
22     r51666@notify.bestcase.com
       Allan S Williams allan@aswlawgroup.com
23     Nancy J Zamora (TR) zamora3@aol.com,
       nzamora@ecf.axosfs.com
24     David R Zaro dzaro@allenmatkins.com
25

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27

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                                                                                          98
 Debtor 1      Michael A. Hershman
 Debtor 2      Linda J. Hershman                                                                           Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)


                                                      Wages, commissions,                              $0.00          Wages, commissions,            $1,739.50
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                       $15,167.25           Wages, commissions,                   $0.00
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                              $0.00          Wages, commissions,              $580.00
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                     $-282,473.00           Wages, commissions,                   $0.00
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 For the calendar year before that:                Rental Income                               $254,473.00
 (January 1 to December 31, 2018 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                                                               EXHIBIT 10                                                           70
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                            Secretary of State                                                      LLC-12                                        18-C79339
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  AUG 20, 2018
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  CASTLE REAL ESTATE INVESTMENTS LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201718410327                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 1014 S Westlake Blvd #14152                                                                         Westlake Village                                              CA       91361
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 1014 S Westlake Blvd #14152                                                                         Westlake Village                                              CA       91361
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 1014 S Westlake Blvd #14152                                                                         Westlake Village                                               CA       91361
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Michelle                                                                                                                           Halliwell
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  1014 S Westlake Blvd #14152                                                                        Westlake Village                                              CA      91361
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
                                                                                                                                                                    CA
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b

MY CORPORATION BUSINESS SERVICES, INC. (C2222444)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Real Estate Investment
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix
 Michelle                                                                                                                             Halliwell
 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code
 1014 S Westlake Blvd #14152                                                                         Westlake Village                                               CA      91361
 9. The Information contained herein, including any attachments, is true and correct.

   08/20/2018                    Michelle Halliwell                                                                    CEO
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)                                                                   EXHIBIT
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                                                                                                                                                      www.sos.ca.gov/business/be
